
In re State of Louisiana, through the District Attorney, Harry F. Connick, applying for remedial writs. Orleans Parish. No. 269-082.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ issue herein, and that the Honorable Jerome M. Winsberg, Judge, and the Criminal District Court for the Parish of Orleans transmit to the Supreme Court of Louisiana on or before the 25th day of June, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein.
This cause will be heard on a date and time to be fixed by this court, to determine whether the relief prayed for in the petition of the realtor should be granted.
